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              Exhibit 1
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                                                                                                       re"dbOX
                                   IOOSK OPERAТING AGREEMENТ
                                                 Summa,y Plla•
Cllent:                  7-ееwк,. lnc.

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                         7-Eleven, lnc.                                 Same
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                         wll renew ln accordanca ~lh Sec1Ьn g,1(Ь).
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Commlnlon:               10.76% per Klosk for DVD rent8I: ~ per IODlk 1Ьrvld8o game П111181; 3% perl<Jo8k for 8111 Тhrough
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Ссм1Ькtа.                1'88P8Ct 1D 8J'IY oulltlmdlng peymef'lt OЬllgellont) ldentitlld • folloWI:
                         10o11a:5piiiijiig AQi-eemenГd81iёiociiЬer24, 2008; rll'II Amendment to IOo81t Operdng AQNemenl
                         dlled Aprtl 17, 20l)g; Sкond Amendmentto IOolk Operallng Agreement d8l8d Augult 11, 2009;
                         Vldeo Geme Addendum daledJune 1, 2D11:Тlcketl Pdot ProgramAddencЬlndatedAuguet 17, 2012
                         and Amended Тldc8ts Pl/at Prugram Мdendum dвted J1nU8ry 7, 2013.

                                                            REDВOX АUТОМАТЕD RПAIL. LLC




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 KIOSK OPERATING AGREEMENT

 Contents
     1.   DeflnШona                                                        в.   Marketlng
     2. Nвture or Our Agreement                                            в.   Tenn and Termlnalion
     з.   ldentlПcatlon of Sltas and Premlsвs                              10. ConПdentlal lnfonnвtlan
     4. Кlosk rnвtallatlon                                                 11. A1aumpUon of Loss: lnsurance
     6. Кlosk Operatlon and Malntenance                                    12. lndemnJflcatlon
     8. Klo1k Relocatlon, Removal and Re-                                  13. LlmltatJons af LlabШty
        lnstalfatlon
                                                                          14. Mlscetlaneous
     7. Commlsslon Payments



Thls Klosk OperaUng Agrнment (thls •contracr) ls entered lnlo between 7-Eleven, lnc., в Texas corpcnllon on lts own
Ьehalf end on behalf orlts franchlsees ("yau," "your" or•ct11nt") wllh lts pdnclpal orrlC8S at 1722 Aouth Streel, Suite 1000,
Dilllas, Тепа 75204 and RedЬox Aulomatad Relall, LLC, а l:lelaware /lmll8d llaЬlliiy company ("we,• •our" or"R1dbo.-),
wllh lls pflnclpal olllces al One Tower Lane, Sulte SOO, OakЬnюk Terrace, llllnols 60181. Тhе tem, •ua• rerers to Ьolh Ol■nt
and RedЬox. The contrac\ conslsts of the Summary Page, the foDowlng tenns and condШons, and lhe exhlЬ/ts to the conlt8cL

                                                 Tenns and Condlt(ons
1.    DeПnltJonв                                                   operated Ьу fi'anchJsaes wllhln the Unlted States, logelher
                                                                   with вl addlUonal locaUons acquln,d or conlrolled Ьу yau
-COmml11Jan1• refeni to the sums рауаЫе to you under lhls          aner the Efl'ective Dale.
contract. es detailed 1n lhe SectJon enlltled "Commisslon
Paymenl8:                                                          2.     Nature of Our Agreement
"Effllctln Dale" meanв January 1, 2015.
                                                                   2.1    Кloak Deployment. Redbox opвrales aulamated
·юовk" mean• а RedboJtФ branded machlne lhat vend&                 КJosks offedng cuslomers в c:onvenlent way lo rent or buy
Medla (а) selected Ьу а customer on the Кlosk's touch              Мedla, and an ellk:Jant way for you 1о gеnвта\е lncome from
&СПН1n monltor (Ь) alter the presenЬnenl of а valld paymsnt        yaur Premlses. You havв requested, and wв have agreed,
card eccepled Ьу RedЬox. The Klosk also hes в card n,ader,         that RedЬox will ln1\all вnd operate l<lo&ka al еНglЫе Sltes.
а lis,tlted panel for dlsplaylng Medls cover ert lhat 1s mounled   You grant RedЬox the light of llrst refuial ro lnstall and
оп the lllde of the l<losk, вnd mву have а nat screen vldeo        operate вutomaled mвdla rвntal and salea mechlneз, and fD
monllor mounled аЬоw lhe Klosk to play prnrrюtional or             ntnt Мedle, вt yaur SI111&. ln retum, Rвdbox wlll рау yau lhe
вdvertlsing materlals. Тhе Кlosk spвdlcalions 818                  Commlss/ons detalled ln the Sectlon enUlled "Commlsslon
subslanUally slmllar 1о lhose d"isplay&d on Exhlbh "А."            Payments." RedЬc»l's rlght of lirst rвfusal to lnstall and
                                                                   operale а Klosk at an eldstlng, new or newly acqulred Slte
"Medfa" meena DVD movies (ln Ьoth standard and Вkнау               will \ermlnate as to the Slte UpOn RedЬox's electlon not to
fonnala} and vldeo games ln thelr physlcal fonn вs орроиd          lnataU or operate а Юosk at lhe Slte or &iJdy (60) dвys aller
to downloadaЫo DVD тоv1м or vldeo games.                           Cllвnt's wdtten request for Redbox to ln&laU and opemtв а
"P1'811'1l1e1" meens prnmlnвnt and Viз!Ь\е ерасе measurlng         KIOSk at the Sltв, whlchever occurв flrst Onca RвdЬок's
apprmdmately three (3) feet Ьу saven (7) feet ln а mutuвlly        Jlght of tlrst rвfusal termlnвtas for е Slte, RedЬox wlfl have no
agreed, straleglc locaUon et each Slte, togetherwith non.          dght to lnstall and operats an autometed medla rental and
exduslve access rlghts over, upon and acros, those areas           sвles madllne orto rent Medla at the ta,mlneted Slte.
deslgnaled Ьу CUent and Redtюx for the lnslallaUon,                2.2 Ассе11 to Slt11. You grant RedЬox (Гоr lts use and
operaUon, malnlenance and ,вpalrofthe Klosks.                      lhe usв of lts employeea and agents) а llmlted lfcense over
 "Sltes• meens all corporale awned and operated 7-Eleven           yaur Slles wtlen the Sltes are open 1о 1h11 puЫlc ror
convenlence &(on,s, end all 7-Eleven convenlence S\Orвs            Ьu&lnвsa. Thls llcense allows Redbox 1о enter and e,cJt the

Redtiox Klosk Ope,aUng Agrнmвnl 2.0 С                                                                                        Page1
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 Sltu, and 1о perform any nec:assaiy lnstaJlatlan, servlce,        4.1 Our fnatallatlon RtsponafЫIIUn. We will lnstafl
 mвlnlenвnce, repalr, relocallon and remaval aflhe l<fosks.        l<fasks at lhe Slteв accanllng 1о а mutually agreed
 Yau wlll nat causa or permlt вnу unreasanaЫe Jnterference         deployment 8Chedule and ln ВCCOldance wllh Emlbll С.
 to ar fram lhe Юosks.                                             Кlolk spкl&cвllans are aubstanUaRy slmllsr ro lhose
                                                                   descr!Ьed ln Exh!Ыt А. We wlll t,y 1о mlnlmlze dlsturЬancea
2.3 Ownenihlp of IOoska and Medla, As between thв
two of us, ~u acknowledge lhat wa own а11 rlght, UIJe and          lo ~ Slls operaUons durlng our lnstallallon or lhe Кlosks.
lnte18&1 1n the Кlasks and lh8 Medla. Vau wlH nat lnlarfere        For secunty raa&ons, we may balt an ouldoor Klosk 10 lh8
wllh our ownerahlp.                                                pavemenl.
2.4    Compllanc:e wlth Law, We Will comply with аК                4.2  Your PNparatlon of the Premlнs. Befare 1h11
                                                                   schedulвd dale or l<ialk dellYВfY, you WIII preparв lh8
fedвnd, slale вnd IDCal laws and n,gulaliot111 wllh rвspect 1о
lhe lnslallalfan and opвrallon of lhe Кlosks, lncludlng bUI nat    Premlses for ln&tallation Ьу removlng eny atructures,
Umlted lo the Americans wlth Dlsebllldes Ad. Youwill               mach1nery, ardlsplays lacaled on lhe Premlses. Due 1о lhe
mafntaln lhe &RIB lmmedlвtely surroundlng lha Premlseв ln          potenlJal vanallon or deploymant opUons. any addlllonal
compllancs wllh аП еррl/саЫе laws, cades, aldlnances, ruleв        preparaUon of в Slte for lha deployment af an outdoar К/osk
and regulallons (lncludlng wi\haut llmltal/on the Amerfcans        wiU Ье determlnвd folowing а Slte vlslt Ьу RedЬax
wllh Dlsвbmtles Act and aU related laws, ordlnances and            personnel.
regulellons, whelher federal, stale and local).                    4.3  UUlltl••· With lhe excepllon of вlectrical power, our
                                                                   Кlавkа notmally have ·ptug and play" capablllty. ВeJont lhв
3.     ldвntlflcatlon of Sltes and Premrses                        scheduled date of Кlask dellvery, ~u wlU рпмdо two (2)
                                                                   efec\rlcal oulJels fmm а dedlcated drcult provldlng 11 о w/1,
3.1   Slta ldenUflcatlon, Тhв partles have prevfausly              20 Amp А.С. elвctJlcal power sемсе to ope,ate lhe Kloslt lf
klenUПed ellgiЫe Sl\el on EidliЫt в.
                                                                   an elec\rlcal outlet mu&t Ье lnstalfed ror thls purpose, we wlH
                                                                   рау for and lnslall the ouUet We wHI deduct 1h11 lnstallatlon
3.2    61111 EllglЬIIJty. То Ьв eПglЬle for the lnstallaUon of а   совt, less $250 foreach lnslallallon, from yourcommlsalon
Kюsk, а Slte must Ье wilhin в feaslЬle RedЬox КJask seivlce        paymenl(a~ We are rasponslЫe for cammunlcallon or dala
area, es dafined Ьу Redbax, support RedЬox's model for             connectlvlty.
economlc vlaЬIПty and Ье accesslЫe to lndlvtduala purauant
lo the requltemenls cf lhe Americens wИh DlsaЬ11Ues Act at         5,    Юosk Operatron and Мвiпtвпапсе
1990 ["ADA"), lf а Slte does not meet these crtteriв, then wв       5.1 Our ReaponalЬHltl••· We have excluslve dghte over
may, but wiU not Ье oЬllgaled ID, lnstall а КIDSk at \he Slte.     lhe ope111Uan, usa and c:inlrof oflhe Klasks, lncludlng but
3.3 S.l1ctlon of Premlи1. Aner ldenllrylng the Sltes, lhe          not lmitвd 10 lhelr hanlware and sortwaro, Your fl8(SOМ81
partles wШ wotfc together \о select Premlses at 1h11 Sltas to      hвva оп1у tha aame fimited rfght of access 1о lha Кlosks as
lnstall lhe Кloska. Тhе order of lnstalllng Kloskfl and the        ar& grвnted to tha general puЫlc. AJ. our sole cost end
selectlan of Pnиn1se& are largely detennlned Ьу вat/sfyfng         expense, we wlП provlde aU hardware вncl soltWere support,
the goals of mв,cim!zing foot tmmc, visiЬility, nм,nue and         malntenanc:e and repalrs ror the Klosks, Wo wlfl malnlaJn lha
Commlsslonв.                                                       l<1osks ln en attrac:tive end gaod stite of repalr, and 1n
                                                                   praperwortlng order. lflhare ls 8 Kloвk melfunctlon, wa wlll
3.4 Permlta. AJ. our expansв, lhe partles wltl wolt(               promptfy lnlUata dlagnosUc вnd repelr иrvlces a/ter
logelher 10 oЫaln any necesaary pennltв, Ucenses or olt!er         nкeМng noUce of tha maffunctlon. Тhв RadЬox pllf&Onnef
govemmenlal aulhartzaUons.                                         asslgned to perform RedЬox's oЫlgatlons under thlв conlract
3.5 New and Newly Acqulred Sltee. Yau wlll use goad                wlll Ье qualll\ed far the вемсаs tf1ey 818 uslgnad to
fallh elforts to provlde RedЬox throughaut the term wilh а         perform. Тhеу will perform RedЬox's oЫlgaUans wilh
rolllng rorecaat of yourprojected openlngs to detsnnlne            promptness and dillgence, and fn в goad and worttmanfllle
                                                                   maмer.
ellglblllty accordlng to иcllon З.2 аьоvе. However,
notwIO\вtвndlng any other provislon 1n lhls conlract. we а,а       5.2 Your Re1pon1IЫlltlea. You wll malntaln lhe area
not oЫlga\ed 1о lnsteU а Klo&k at а new or nвwty acquired          lmmedlately sunvundlng the Prвmlses in а neat, clвan and
Slle. lnslallaUon at а new or newly acqulrвd Sl\e wlll Ье Ьу       good condillon, so аа to pnwldв an atlradlve and sultsЫe
mutual egreemenL                                                   envlronment for the usa of lho l<losks Ьу a,stome111. You wlQ
3.6   lnstallatlon вnd Acces1 Au1hortty. SuЬject ta                pmvldв в!1 eleclrical saivlce. For lndoar Кlo■k localions, you
appllcaЫe law, regulatJon, ar lha tenna of any sgreement for       8111 responslЫ11 for heatlng and 8lr condlUonlng servk:ee.
any new Slta (wflich lв 1n errect pnor to the time you awn or      5,3    Securtty and Ассе•• to Slonts. Each of us wlll lska
оре/11\е lhe nвw Slle), you represent and warrant that you         reaaonaЫe precauUonв Jo ensuru safe wartung proceduras
have lhe aulhortty (а) la grant RedЬox tha rtght to lnstaU and     and condlllans durfng and ln coмeclfon wltЬ such our
operalfl Kioslcs вt the Sltes: (Ь) Ыnd your franchlsaes to the     opeJatlons at а S118. Whlle on-Slte, RadЬox'a personnel v.iU
                      or
lerms and condillons 1h11 cantrвc!; end (с) to grant               camply wilh your securlty and ессавs palldes аа may Ье in
ассва lo Rodbox, end lta lnvllees, fтom and to tha Klosts so       elfect (and ав are ldenUned or provlded ln wrttlng 1о RedЬox}
we can pedonn our oЬllgallons under thls c:onlract.                at the Sltes. А1 your niques~ our peПiDnnel will check ln with
                                                                   Slle management when they srrlve to pernкm malnlsnanca
4.     Klosk lnstallatlon                                          oroperatJons at а Slte.

Rldlloi Klosk OpшUng Agniemenl 2.0 О                                                                                       Page2
Conlidenllll
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 lSOIIS


 5.4 Custamer Quaulng. You wlll keep lhe aruв                         mnoval о, Allnll1allatlon, wв wlll coordnalв wllh your
 lmmedlately adJacent 1а lhe Prвm/sea open so lndfvklual8             n,p111sen18Uva at lhe S/le and IМ11 mutuaJly de[armfne lhe
 waltlng to use lhe Кlaska may queue. or courwe, you may              IChedule (dale and Ume) for lt lo lske place. W• - and not
 dlntc:t such queulng ао as 1о mlnlmlzв fntelference wlth yaur        vau-are responslЫe ror tha retocallan, 1"81110V8I or
 olher Ьuslnesa tralllc.                                              relneteSletlon or lhe Кlosk.
5,5 Cuslomer Servlce. We wl1J malnlaln а toll rree                    (d) Notwtlhstancllng anythlng ln lhls c:ontract to the
customsr &ervlce phone nшnЬerwhleh 'WID Ье promlnsnlly                conlrary, durlng lhe term, YoU have lhe rlghtwlth n,spect 10
dlaplayed on the Кlosk. We wlll handlв aD cualomвr caDs and           any one or mon, Sllas 1о lennlnete thla conlract wtlh rвspect
olher ISЗtJBI Пllatlng to lhe operatlon of U'le l<losks, providing    1о those SПвs, ln lhe avenl you (1) sвН, or othllfWlse dlapoae
not leu lhвn seventy (7D) hours of live phone coverage                of any euch Slle , or (11) detennlne lhat any such Slte (s) w/11
across sewm (7) days/week, excludlng hoИdays, and 24 х 7              Ье dosвd for Ьuslnвss: or {111) а partlclpatklg franchl&ee ls
volce mau covoragв.                                                   termlnat8cl or the franchlse agreemвnt expltu and the
5,6 PCI Requl,-menЬ. Rsdbox w!П comply wllh the                       franchlse relaUonsblp does not conlinue; or (lv) the operaUon
Payment card lndustry {"PCI") Data Securlty Standards                 of lhe l<losk at the 5118 vlolales eny law orordlnвnce вnd lhe
requl111ments ror c:ardholder data as lssued Ьу                      Violallon cennot Ье сшеd at your rвasanaЬle expense. Тhе
Visa/МaslвrCard, as they may Ье amended йот tlme to
                                                                      declslon to sell1 close or olhelWl88 dlspose or any Sile sflall
                                                                      Ье ln your sola вnd absolule dlscreUan. Atri such Slle shвll
llme. RedЬox shaU provfde yau with wrflten certltlcallon of
PCI compRance wlthln 30 days or the Effectlve Date and               cease to Ье а Slle for all purposes under lhJs conlrвct вnd
thereвfler, once eve,y year durfng thв tenn
                                                                     lhe pвrtfes will agrвe on а dale and llme et whlch RedЬox
                                                                     &haU Ье pennltted Со enlsr lhe all'ected Slte вnd remove lhe
                                                                     Кlosk ar olher malerlals owned Ьу RedЬox, whlch tlme and
6. Klosk Relocatlan, Rвmoval and                                     date shan 1n no event Ье later than the date that 7-Eleven (or
   Re.lnstallatlon                                                   lts franchlsee) no longer has conlПII over thlt prernlsn snd
                                                                     shaD glve RedЬox st /вавt а thlrty (30) day wlndow durfng
We understand lhal, undвr certain clrcumstancas, а Klolik            whlch to perfonn the removsl at lls sole cost and expвnse.
may need to Ье moved о, relocated. Тhls Section del8/le lhe          ln lhe event Redbox falls to remove the К1о&k or alher
procedurвs govemlng mowment snd relocallcn of в Kloak.               mвtenats withln the tlmвframe thfJ Partles egree upon for
                                                                     such nиnaval, 7-Elвven or the thlrd Person tran&re1&e of
 6.1 Mov1m1nt of а К101k. 11 ls cztUcal lhal only Redbox-            such Store shaU have lhe rlght to remove вnd slor& such
 and not you - physlcaly movea а Klosk. RedЬox needs 1а              Klosk or malerlals at RadЬolC's sole co&t and eкpense.
 handlв вnу mCJYe fo, several 111asons, lncludlng: (а) lhe
 КlosJc ls our pmperty; (Ь) the Кlosk contalns sensl\lva             (е)      Except as веt forth ln subpaг.igraph (d) аьоvе, lhe
 elвctronlc equlpment and prвclslon machlnery; (с) lhe К/osk         c:osts assodaled with any rвlocalion, rвmoval or
needs 1D ,-main powered and have conslslent lnl8met                  reln&talla\ion of the Klosk macle at your requas\ wlU Ье st
 connec1iYlty to conduct ttansactlons, monltor lnvenlory end         yauraolo cost and e11pense (1) lf the requell ls madв wlthln
 stвtus, and to recelve programmlng updale1: (d) due to lts          the lil&t two (2) yaars afler lhe Kloek hsa Ьееn lnltlsDy
 size, welght, and valious componenls, lhe l<lolk requlres           lnstalled вt the Slle, or (11) wllhln two (2) уввrв al\er any prior
 &pee:lalizad вqulpment ror handllng Ьу tralned peraonnel 1о         relocaUon, removal or relnalalaUon of \hв l<losk made et
p~venl damagв to вnd shlrting of conlentв, personaJ ln/ury,          !,'QUr request.
unnecesaary вervlce calls end lost revenue: 8nd (е) Ьecause          (f) Your f811POnslbltily for the costs вlllOClвted wllh в
а suЬ-oplimal locatlon mву reault 1n lesв revenue, lhe new
                                                                     re/ocalfon, removal or rвlnstaUa\lon of the КIDstt lncludв
locaUon must Ье muluaDy egreed upon Ьetween ue. You                  RedЬox's personnel end equlpment eos1a аа well as the
agree to communlca/e these polnts 1о yaur persannвl.                 n,Jocation ofthe ullllty Unes, Whlth lnclulle any
U       Proce•• foJ.М.o.v.ement,.Reloc;aUon.ud                       co~~nlc.!.~ lln!._s.1DSL ~ ~lhe_!WI!!), ,1~JJJ.~S_al'!d
RelnвlalaUan of а I001k. Тhе agreed-upon pracess ror                 вnу uu,er neceasary UЬ1ities 1о lhe Кlosk.
relocaUon, removal or relnstallalJon ("ЗR") of К1о&kв II ве          (g) lf lhe partles mutuaDy agrвe that re/ocaUon of а Klosk
follows:                                                             wlll enhance thв nnвnclвl performance ofthe Юosk, then
(а)    You must nкiuest ln wrtllng lhe relocaUon, removaJ ar         RedЬox wlll bear lhв costs asaoclated wllh lhst relocalian.
relnstaDaUon or any Kiosk Ьу suЬmJWng your request to                8.3   Dlaclalmer of UeЫllty. We вrе not llвble, end
RedЬox по less lhan llve (5) Ьuslness day& prior to lhe              dl&Clalm ан assumptlon or lou, far any damages, репюnаl
requestвcl nilocaUon, removal or relnslallatfon date.
                                                                     or olharwlse, 6houkl you or вnу or your agents teka lt upon
(Ь)    Because Юовk location ls Ьу mutual agreemenl, we              themaelves to rвlocate, remove, or re-lnstsП а Klosk. lfyou
wlll promptly respond wlth our agreement or di889reement             move а l<lolik wllhout foUowlng lhe procedures &et forth ln
аа to lhe pmposed Pntmlses. Any relocatвd placement must             Sectlon 6.2, YD'I wlll defend and lndemnlfy RedЬox ror any
Ье elmllar to lhe cmglnal locatJon. ln the unlikвly вvent that       Clalms lhat reвull frnm the unвulhorlzвd movement
the pardes cannot agree on new Pnlmlses at а Slte, then              ec:corolng to lhв pmvfslons ofSectlon 12 ("lndsnvilllcatlon")
ellher party may lennlnats lhls contract wtth respect to that        below. Wв а/ео may olfset ycur Commlsslon ror any
Sl\e,                                                                damages wв lncur. lf you move а l<losk а second Ume вt а
                                                                     Slte withoul followlng lhe procedurвs sel foflh ln thls Sвctlon
(с)     Оnсв the paJtles reach agrвement оп rвlocallon,              6.3, we may lmmedlately lennlnale lhls conlrad Wilh resped

Rе<!Ьок l<losk Opll8dng Agrнment 2.01О                                                                                          Page3
Cclnlldenlial
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JSOJ lS


1D lhatSlla                                                       7:J P,-vloualy.Vlewed Stll Тhrau11h Cammltalona. We
                                                                  may olfer prevlously-vlewed Мedla for dlrect sale rrom the
В,4 Remod•I• мd R8Ьulrda. Should your operaUons                   l<losks. Wв wlll рау you а oammlalon ьааеd on а
contlnue du,tng any pertod of "modelJng or rebul/dlng of а        pen:enlвgв of lhe net revenue rкelved Ьу RedЬoxfor the
Slle, rвasonabla вccommodal/onв Will Ье made to attampt ro        sale of pievtously vlewed Medla es delaНed ln Sedlon 7.4
kвер 1Ье l<losk ope,atfng at thв Slte durlng lhat peliod.
                                                                  bвtow. We re,e,ve lhe rtght 10 detetmlne lhe selectlon and
However, we may remove а Klosk rrom а S\te orsuspend              prldng for prevlous~awad Mвdla. Тhе prevlouely-vlewed
servlce al в IOosk dulfng that period lf, ln our ,еавоnаЬfе       веn through cammlulon pen:enlaga lв speclfled on lhe
oplnlon, the remodeUng or nзbull!lng woulcl hava а malsrtel       Summa,y Paga.
вdverse вffвct upon (а) lhe numЬer of c:ustamer lransactlons
c:oncluctsd at tha Klosk or (Ь) the Юosk'e condltlon.             7.4 Commlilafon CвlculaUon and Payment. Far 88
                                                                  Юosks lnstaned and aperaUng at the Sltвs, we va рву you
U Vandallam or Burglary. Ellher party may rвquest                 yaur commlsalons wlthln twunty (20) days ofthe end or евсh
appruval of lhe othвr party for lhe exclualon of eny Slte fmm     calender month. Cammlsalan paymenls wlD:
lt\ese oЫlgetlone 1r the l<losk ha1 repealedly ьнn
vandвllzed or burglartzed. Тhе olher pany'e appraVal of thls      (а)  Ье calculated 1n вccordanca wllh generaDy accepled
requeat wlll not Ье unreasonaЬly wllhheld, condiUoned or          accounllng prtnclples;
delayed.
                                                                  (Ь)   lnc!ude ell groвa revenues from pald rentals or вales о1
о.о    Removal for Fellul'8 to Genarat. lncome. lf а Кlosk        Medla (as \ha сан may Ье) and fnxn lhe fa11ure Ьу
raas 1о generate аvВГсЩв nat renlal revenue ln в~а:е,, of five    customars to retum rented Media, less customer rerunds,
hundred doll1m1 ($500.00) perweek for any four (4)                aedit card charge Ьасk&, dedlnad transactlone, promollonal
c:onsaculive weeka occumng slxteen (16) weeka or morв             dlacoun&s, rental &ахеа and salas taxas; and
aller \he lnltlal lnstsllaUon of а Klosk at the 5118, we may
                                                                  {с)   Ье sccompenled Ьу а report whlch llemlzes revenua
rumove the Кlosk at Redbox's sole cost and вхрвnsе. Net
                                                                  Ьу Кlosk and Slle.
rвnlal revenue 1& calculated accan:llng to Sec:tlon 7.4(Ь)
("Commlsslon Calculallon and Paymвnt; ЬeJow. Upon                 7.5 lnapectlon of Recarda. lt 1s your righl, wllhln ane
removal of thв Klosk, thls contrsct automвtlc:&lly lennlnalss     hundred elghty (180) days of payment о1 в commlsslon, to
wllh rвspect to that Slla. NotwllhвtandJng lhe Coregolng, lt 1s   lnspect our accounts and reports ntlal&,g ta lhe calculaUon of
withln our sole discn!Uon 1о removв а sacond l<losk fюm е         1h11 commlss/on. lnspectlons сап occur at 18esonaЬ/e
Slle for any raason.                                              ln18rvals upon rвasonable advance wrllten nollce, snd dl.lltng
8.7 SuJRnd•r of p"mJ•••i TranalUonal Optratlon.                    our regulвr buslnнs houns.
Upon lhe explrallon or the tsnnlnatlon of thls c:annct. ln   7.8 Та••· RedЬox wlll c:ollвc:t and рву 811 salas, use or
whole orwlth raepect 1о any lndlvidual S118, wewlll (а)      slmllar taxea levled on revвnue genef81ed rrom lhe operallon
remove IЬе Klolkl al our sale совt and 8)1pense, (Ь)         or, orperвonal property taxsr, orad vaknm ьwis on, lhe
surrender poasasslon of lhe Pntmlses, and (с} mhJm lhe       Кlosk&. Each party w111 ье respon&iЬla ror lhe payment or
Premlsea ln good clean cmdlllon, &UЬject to normaJ and       eny lnc:omв taxes Ьеиd upon вnу navenue lt may racelve
nsasonaЫe wear вnd tear related to Ote lnstallaUon, U&8,     under lhls conltaet. For further clatlty, Redbox wlll hlve no
OJ)8f'81ion and removal of lhe Кlo&ks. We wlll consull wllh  llвЫUly ta sepвrately 19lmburse Cllent for any grnss rвcelpts,
you to mutually agпte upon е reasonвЫe schedulв to           ЬUslness and occupallOn, value addod, rental, sales and use
accompllsh lheвe taaks, wЬlc:h &hou1d not exceed lhirty (ЗО) LIIX on amaunts pald Ьу RedЬox to CUent under lhls contract.
days rrom expiration or termlnaUon. Unless we tвnnlnale lhls
contrвct ror your breach, we will conlinue to operate the    8. Marketlng
Кlosks and рау you c:omm/ssklns upon lhe sama tenns and
c:onditlona un\11 ramoval of lhв l<losks la complete.
                                     _ _ _ _ _ _ _ _ _ _Recognlzlng that maitвtlng la c:mJcaly Ьnportant ta
                                                             lncreaslng customer awareness, whlc:h ln tum auЬ&lanUaly
7. Commlssion Payments                                       lmpвcta rвvenue, lhв paJtlвs agree 1D engвgв 1n lhв
                                                             follawfng mSJkelfng elforts:
7.1 Renl.ll Commlaalona. WeolfarModla 1n tho Юовks
ror rental Ьу вnck:uslomers. We wiU рву you а commlsSlon     8.1 LacвUon Gulde. You вulhollze RedЬDX to use your
Ьased on а percantagв of net revenue nи:elved ьv RedЬox      nвma and sddress of the Sitвs for the purpose of provldlng а
from Ьoth lhe rantal of Medla end rrom the fellwe Ьу         localion gulde for c:ustomen1. Тhls gulde may Ье ln
cuslomers to retum Мedla, as dвtaBed ln Sec:tlon 7.4 beJow.  lnleractlve medlв form or lntamet-Ьased, a1ch es but not
Тhе Comm\sзlon percentaga la apecl6ad on lhe Summary         llmlted to а localorgulde on our webslte.
 Page.                                                       8.2 Bмners and Slgnage. Тhftlugh mutual sgreement
 7.2 Sell Тhrough Commla•lons. We may offer new              and aub)ect 1о Slta rвstrtclions andfot \he approvвl of
 Med1a ror dlrett aale fn:lm lhe Klo&kL We wRI рау \IOU а    lndМdual fnlnchlsees, CHentwlll provkle RedЬwl access and
 comm!sslon Ьа&еd on а percentage of the net revenue         permlaslon to plsce slgnage 1t each cпent Slte, вannt11
 recelvвd Ьу RedЬox ror the sale of new Medla ав detaНed ln  1nd elgnage may indtlde:
 Sect/on 7.◄ balow. RadЬox will dвtвnnlne thв &aJe prtca of         • Pump tоррев (wherв Cllent cooducts fuel
 lhe Мedla. The seU through commlsslon percenlage ls                    operallons)
 speclfled on lhe Summary Page.
RedЬo11 l<\osk Dpe,aUng Agreement 2.00                                                                                   PIIQll 4'
Confld1111Ual
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 1S01 IS


        • Counlst dlsp1ays                                          contract al least nlnety (90) days Ьerote axplratJon of the
                                                                    tann. Durfng а Renewel Term, ellher party may lermlnats
        • Wlncfow cllngs                                            lhls contract wlthout cause upon one hundred l:W&nty (120)
        •   Poslerв                                                 daya' nollce.
     • A•hmet                                                       9.2 Termlnatlon for Cause. Ellher af us may lennlnвla
                                                                    lhls contrвct ев а result of а malertвl Ьreach Ьу the other
Slgnage ls вuЬ}есt ta lhe rueeonaЫe appraval of CllenL              party of sny of lts oЬllgallonL Тhе tennJnaUon will Ье
8.3 YourWebslte. YouwlD malntaln onyourcorparate                    elredlve upon the Ьraechlng pazty's recelpt or nollca ar lhe
webslte а deвcrlpllan of the RedЬox pruduc:ts and servlcos          breach, IUЬjecl ta е lhlrty (30) buslnesa day cure pe,fod. lf
                                                                    lhe tкeachlng party falls to curв or to lnlllate а plen to cur&
olfered at your Sltes. вlong wlth а pholo orа Кlosk. 1he text       lhe brtach wllhln thlrty (30) bualnus dаув alter lta 18C81pt ar
and photo арреамg on lhis wabpage ent suЬject 1о the
mulual app,oval or the pertle&. Тhera вhould Ь. • Пnk 1о the
                                                                    the nouce, the nan-Ьreachlng party mву lмnlnals the
                                                                    IXIПllact.
webpage from some other consp1cuaus palnt an your
waЬslle (e.g. 1 your home page).                                    1.3 lmmedl118 Termlnatlon. Notwllhs!andlng lhe
а.•    р,... Releue. Upon execullon of thls con"8ct. the
                                                                    foragolng paragraph, either of us may tennlnals lhls contract
                                                                    Jmmвdletely U11ОП wrllten noUce lfany of lhe folkмlng events
part/es wlll lsaue а preвs release announclng lhelt
                                                                    оссш: {а) Ute alher party С88688 or 1s llkвly 1о caasa to сапу
relaUanshlp and the lnstalletlon af Юаskв. Тhе wonllng of lhe
                                                                    on 811 orany prlncipel part of Нs buslnвss: {Ь) the other perty
p,ess re/ease must Ье approved Ьу Ьо\h of us. 1n any pdnted         ls unaЫe 1о рау 118 debts as and when they Ьесоmе due: (с)
or publlshad malertal, each pвrty wlll Ье ldenUlied Ьу lts
name and/or loga ln accordвnce wllh lts usual and                   due to вn encumЬmnce, в third perty takea poseeвslon ofall
                                                                    or any pert or lhe buslnesa, p,operty or вsнt of lhв olher
customa,y requlremenl&, ln ао dalng, васh patty wlll takв           party, ar eny Uquldator or recetver 11 appolnled 1n rвspect
reascnaЬle measuras ta protec:t the olher party'a name,
                                                                    thereof; (d) the olher party makes а general aвslgnmвnt lor
includlng without llmltaUon, aflildng eny approprtare nolice of     the Ьenelit oflts crвdltors; or(e) any orcfer hls Ьееn made or
clalm ta trademark rfghta.
                                                                    any resolut/on hls Ьееn passed for lhe Winding up ar the
8.5 Promotlonal Cod••· Durfng each year or tha lnlllal              othвr party.
Tenn, and should lhls contract renew, dufing lhe firat
Renewal Tenn, RedЬox agrвes to supply C!ient wllh Four              10. Confldentlal lnfonnation
Milllon (4,000,000) 1-day DVD promollonвl cades free ar
chasge suь,ect 1о CJJent ulillzing lhв promoUonel codes
                                                                    10.1 Def\nlUon of"ConfldsnU8' lnfonnatJon,''
during а minimum of two (2) mutually ЬeneRclal pramoUonal           ·eonlldeauat lnfonnallon" meens lnformallon, whelher
events peryear. Promollonal events wВ1 Ьв approved Ьу lhe           recefved Ьеfоrв ar aC\erlhe Effective Date, marked or
partles. Tactlcs, 1n support of promollonal events, may             oth8'Wlse ldentined 1n wriUng Ьу one or us as prupnetary or
lndude:                                                             conf\denlfal, or lnfonnallon thet, under lhe clrcumstencet
      • Emiu1                                                        &UП"Oundlng the dlsclosure, lhe recelvlng party reasoneЫy
      • Soclal                                                      &howl recognlze as Ьelng coolidenllaL lt includes non-publfc
      •Slgnage                                                      lnfannallon regarding eithвr pвrty's products, sottwsrв,
      •Мobile                                                       marketlng or promotlons, buslneвs melhocfs, cost
      • WeЬslte                                                     lnfonnalion, l'onll:81111, aales. revenueв, prollta, cuatomer
      • Medla
                                                                    1nrorma11on (lndudlng personвlly ldenlllaЫe lnfarmeUan.
                                                                     rental transacUons, вnd rвntal hlstory), auppller lnfonnallon,
8.6    Dlgltal m1dlL Тhrough muluel agntemвnt, Cllent and           and lhe 1enna or lhla contract.
RedЬox wlD commlt ta u&ing thelr respectlve dlgllel asaets,         10.2 lnformatlon Nat Consldered Canlldentfal.
lncludlng Ьut not Вmlted 1D SMS, tвxt, e-mell, epps or othвr        Conlldentlal lnfcnnstlon does not lnclude inronnallon whk:h:
sollwara, to dellVer promoUonal olfers to cuslomet's wllh а         (а) lhe reciplent developed lndependendy; (Ь) the reclpient
goa1 to dtive RedЬox medla ranlals and sales and to                 knвw Ьefore recelvlng lt fюm thв otherperty; ar(c) 18 or
gвnerate cuslomer ualflc at Client Sites.                           suЬsequenUy Ьecomes puЫ/cly вvаl/аЫв or ls recelwd from
                                                                    anolher source, 1n Ьо1h cases olhar than Ьу а Ьmech ofan
9.     Term and Termlnвtlon                                         oЫlgatlon of conlidenliallty. 1he Ьurden or proof to estaЬllsh
                                                                    lhat one of the еЬоvе e,ccepUone epplles wlll Ье upon lhe
9,1    Term.                                                        reclpienL
(а)   Тhls contract goas lnlo effect on the "Effec:tlw Dat8,"
                                                                    10.3 U■e of CanfldenUal lnfonnatlon. Fcr а penod of
                                                                    thrвa (З) yeeni aller lnlllal discfasunt, neilher party wШ:
whlch 1s ldenlilled on the Summsry Page. Тhе lsnn or lhls
conlract expireз at 11:59 p.m. (Ctnlral tlms) оп the dete           (а)  use lhe other's ConlldenUвl lnfonnallon wilhout lhe
ldenlllled оп the Summary Page.                                     othвra wrilten consent, B)lcapi 1n rwthemnco or 1h11
                                                                    bualnвss relallonshlp or as expressly pennitted Ьу thls
(Ь)   Тhls contrвct autamstlcaПy renвws ror two (2)
addIOonal one (1) yearpenods, each а ("RenllWIII т,rm•)             CDntract; or
unless either party glves nollce of 11.8 lntent not to renew lhls   (Ь)   dlsclose lhe oiher'e ConПdenUal lnfannвllon, except Са

RedЬox KIDslc Dperalilg Agreemenl 2.0 О                                                                                       PagoS
Connctan\laJ
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 150115


oЫaln advk:e from lta professlonal advl&Of'I, legal or llnanclal    provldlng cowrage not leu lhan а вtandard commen:lal
con&Ullanls, or 11 compened Ьу law (lncludlng d/lSClosure           generвl llabllity pollcy lnctudlng h8%8tds ofopllf3llon
necessary or вppropdate ln fillngs wllh lhe U.S. Securllies         coveraga, proctucll/compfeled operalklNI c:overage впd
Exchange Commlsslon) or generaDy ac:cepled вccountlng               contractual coverage вnd вп umbrallв llablllty роНсу wflll
prtndples, ln \\tllch case the party compeDed to make the           limlts of at leest $10,000,000. The prodUds lleЫlty pollcy
dlsclosure wm use ns best etrorts to give ltle olher party          вhвD nвma 7-Beven аа an addltlonal lnвuntd.
notJc:e or lhe C8Clulrвm•nt so thвt the dlselosure can Ье
contasted.                                                          (с).   AutomobHв UаЬН1tу lncludlng protectfon ror
                                                                    autnmoЬlles and tnlCks used Ьу RedЬox elther an or away
10.4 ProCectJon of ConfldМJUal Jnformat!on. Each party              from lhв slte at whlch lt• •вмсеs ant pravtcled, wlth а
wlU take reasonablв precaudon& to safeguard lhe olher               comЬlned slngle lknli of at least $1,000,000 per occummc:e
palty'a Canfidential Jnronnatlon. Those praceullonв wiD Ье at       for Ьodlly lnlшY and property damвge. Тhе po)icy 511811
least вs gniat ев the p18C8UUon■ thet lhe other pвrty lakes to      lnclude coverage for аВ hlred, owned and non-owned
pratect 11& own Con6dentJal lnfonnallon. Each party wlU             vehlcles.
dlscfoso the olher's ConПdenUal lnfoпnaUon to lta
employeea, consuitants or suЬconlractOf'S oniv on в need-lo-        (d). •А11 rtsk• property coverage on вD toofs and
know Ьв&Ь and suЬfect 1о lhe canlldentlaJity obllgallons            equlpment, lncJudlng rental equlpment, used ln \he execuUon
lmposed here. When Conlldentlal lnlonnatlon 1s no longer            of the servlcea, for whlch RedЬox may self-insunt. lf RedЬox
nec:assвry to parform any oЫlgallon under thls conln!ct,            elects 80 self-insurз, Redbox shaU рю18сt you t.o thв sama
each party wtn 11111/m lt to the olher party or destroy lt at the   extenl вs lt would 1111 hlld an aU nak p,operty cowrage
olher's ~uest.                                                      pollcy,

10,5 Coopвratlon ln th• Event of Dlaclosure. Eath party             (е)    RedЬOJt shall rumlвh you wlth saUsfactoiy avldence or
w/U lmmedlatsty noU(y 1he other party upon dfscovety or sny         lhe n,qulred lnsurance вt laest 6 days plior 1о tЬе elfecllve
imвulhorlzsd use or dl!closure or ConlldenUal lnlom\aUon,           date hereof. Each pollcy shвll lndude ■ pl1)Vfslon requlrlng
and wlU hetp the otherparty regaln posseulon or the                 thet at leвst thirty (30) daya pnor wrftlen nollce Ье glven you
ConBdantial lnfonnaUon and pnwent furlher unaulhorlzad              1n the event or cancellallon. Pnimlums an eD lnliUrance
use or dlsdosure.                                                   pollcles shвD Ье pald Ьу RedЬox.
10.CI Rlght to Uae FeedЬack. lf one party provldeв                  (1)     А11 вuch lnsuranca provlded hereln shaU Ье prtmaiy
eugge,Uonв l'orchangea orlmprovements, orolher                      lnsurance wllh ntspect to the operatlona and negtlgence of
feedbac:k, to lhe other pany aЬout the olhвr party's producls       RвdЬох. For purposes of thls Sectlon, lhe tenn 7-Вeven
or seмces, the party recelvlng the feedЬac:k mav use lt    ror      shвfl lnclude lts suЬsldlarles, agants, employees, lnvltвes,
                                                                    franchlsees, conlractora, lnstlrance companles вnd
any purpose wllhaut oЫlgatlon of any ldnd, except that the
nи:elYlng party w1Н not dJ&dose the soutt:e or feedЬack             undetWriters. AlthOUgh RedЬox 1s requ/l'ed 1о oЬtaln вnd
wlthout thв ainsent of lhe perty provldlng lt.                      malntaln lnsvrance as aet forth hentln, RedЬox'a liaЫllty
                                                                    under lhla AgПIВment вhall not Ьв llmlled 1n any mвмвr ав а
                                                                    1'8sult or 8tlCh lnsurance
11, Assumptfon of Loss; lnaurance
                                                                    (g)   Тhе ln&tJrance oЬ\lgatlons under thla conlract shaU
11,1 AaвumptJon ofLo... Exceptaвothвtwlse slaled ln                 survlvв Ulв explratlon or tennlnallon orthls AgreemenL
lhls contract вnd вхсерt for lh• lntentionel or grossly             11.3 Clвlmв CoopвraUan. You вgree to {а) promplly noUl'y
negllgent всtа or you, your employees or sg1111tв, we wlH           Rес!Ьох ln wntlng ofany dalm or losa allar вnу potenUalfy
&81Um• respanвlbUlty l'or aJI phys1cal lou or damage fD our         lnвuraЫe 1оsв 1• dlscovered, and (Ь) cooperatв ln lhe
l<Joskt, lhelrcontents, algns and other peвonal property, as        lnvestlgetlon and ac:IJuslmant or any such losa.
well es for lnjunes or damagвs occutrfng durlng and relllled
to thelr lnstaHallon.
                                                                    12. lndemnlflcatlon
11.2     lnsurance. Redbox, at lts own ехреnве, shall
provlde and malnlaln lnsurance durlng lhe Tenn of thla              12.1 lndemnlncatfan af 7-Eleven. We wlJI dвfend,
Agreement, end for а parfod of оnв (f) year the18alter, аа          lndemnlfy, реу and hold hвnnless )'OU, your parent
fo11ow&:                                                            companleв, all\lla(es and euЬsldlary companles, and 1helr
(а)     Statutoty WOlker&' Compensвllon coverage for аП of          raspвc:tive orncera, dll8ckn, and employees aga1nst впу
llв employees, lncludlng occupetlonal dlsaasa coveг.ige, as         lhlrd-party clalme, acllons, damegн, lossea, 1111d expenses
requlivd Ьу вppllcable lвw, and employe(s llaЫllty wllh llmlts      (lncludlng court costs and reasonaЫa aUome~ rees) вrislng
of вt least $500,DDO Ьodlly lnJury each вccldant, $500,000          from or lncldenl lo: (в) any death, per10nal ln]ury or damagв
ЬodlJy lnJury Ьу dlsea&e each employee and $500,000 ЬоdВу           to tenglЫe property to lhe extent euc:h death, lnjury or
IJ1ury Ьу dlsease ln lhe aggregate. Тhе pallcy shall Ье             damage resutls frnm our negllgance orwlllful mJeconduct
endolSlld to lndude •au stetes• coverage                            lndudlng that of our вubconlraclorв wllh respact to thв
                                                                    lnstallaUon, operalion, malntef'Jance and r&palr ofthв l<Jo&ks
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written on an •oa:urrence• Ьssfs wlth а comЫned вlngle Umlt         оп account of any allegallon or lincllng or а Ylo1atlon of any
of вt IН1t $2,000,000 per oa:urrвnce, and $5,000,000                U.S. patent, \Jademвrt, copyright orconllactuвl orother
eggregats for Ьodlly lnJury and property dвmage 1n в fonп           ltgh!S of вnу lhlпl partias ans1ng from the pun:hвsв, uве ar

Rldlloll l<lo,k Operalng Agrнment 2.0 С>                                                                                      Page6
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 ваlе Ьу you or lhe Sltвa or any RedЬox produc:ts о, S8fVlceв;   -conndanllal 1nrormauon,· "lndemnlllcaUon: 1D Ьodlfy lnjury
and (с) rrom вnу consumвr c:omplвlnt. ckdm or legal actlon       or wningful d11ath 81tslng &om ltll negllgence, to вcts or
whalsoeY&r, d8glng demages. dealh, Dlnвss or lnjury to the       omlselon• lnYoMng а pвrty's gross or lntanllonel mlsconduct
extent thet lв due, 1n v.tlolв or 1n pllr1, to ouracllons,       or hud, or tap sucn olher mlaconduct that cannot Ье
omlsslons, nвgllgвnce, or gl'OII& negllgence. Our oЫlgatlons     excluded Ьу appllcaЫe law.
ln thls Sectlon are condngent upon: (х) you pnwldlng
RedЬox wilh prompt wrilten nolice of sueh thlfd.pвrty            13.3 Dltclalmtir of WIП'lntlea, ЕХСЕРТ AS
aHegatJons: (у) you provldlng reвsonaЬ/e cooperatlon СО          OТНERWISE EXPRESSLY SЕТ FORTH IN ТНIS
RedЬox 1n lhe defense вnd sel!lement or вnу clвlm artslng        СОНТRАСТ, NEmiER РАRТУ МАКЕS ANf
from •uch aUegallons, et our ьрвnu: ■nd (z) RedЬox               REPRESENТA110NS OR WARRANТIES, AND
hev/ng aole aulhorlty (о defend or aettle any 8UCh dalm. ln      EXPRESSLY DISCLAIMS ALL WARRANТ1ES, EXPRESS,
the dofense or seltlement of any lntellectual p,operty           IMPLIED, SТАТUТОRУ, OR OТНERWISE, RELAТING ТО
lnfnngement clalm. we may oЫaln for you tha rfghl fo             OR ARISING ОUТ OF ТНIS СОNТRАСТ, INCLUDING,
conUnue 1о locatв lhe Kloskв at the Sltes, replace ormodlry      WIТНОUТ UMIТAТION, ANf WARRANТY OF NON-
the Юosks во that they Ьесоm88 non-lnfnngkig, or, lf suc::t,     INFRINGEМENТ, тУ IMPLIED WARIWПY OF
remвdiвs are not niasonaЫy вvallable, termlnвte thla             MERCНANТAВILIТY OR FIТNESS FOR А PARТICULAR
contract. ТНЕ FOREGOING STAТES ТНЕ ENТIRE                        PURPOSE AND IMPLIED WARRANТIES ARISING FROM
OВUGAТION Or REDBOX, IТS LICENSORS AND                           COURSE OF DEAUNG OR COURSE OF PERFORМANCE.
SUPPLIERS wrrн RESPECT то INFRINGEMENТ,
МISAPPROPRIAТION, OR VIOLAТION OF INТal.ECТUAL
                                                                 14.    Mlвcellaneous
PROPER1Y RIGHTS, Wв have no llabllty under this
contract to IJ1e extent that any lhlrd-party allegatlons are
bвsed on use of the Кlosks ln comЫnaUon wllh any IJ11td-         14.1      NoUcea. NoUces, вuthorizsUons, and raquesla ln
party producl& or servlces or 1n а mвnner that vlolatвs thls     connectlon wllh lhls conlract must Ье sent Ьу personal
contract or tha lnstruct!ons glven to you Ьу Redbox.             dвDvery, cer1/lled maU (retum recelpt requested), or e,cpnsa
                                                                 courler to the вddresseв llsted ln lhla conl/'act. Nollces will
                                                                 Ье trealed as del\vered on the date llhown on the retum
12.2 lndemnlflc:aUon byYou. You wlU defend, lndвmnlfy,
рау and hold harmless RedЬox, 118 parent companles,
                                                                 recelpt or on lhe courier conlirmatlon ar deПvery. Notlceв
аmва1ев and suЬsldia,y companles, and lhelr 195peclive
                                                                 sent to RеdЬОк must Ье separately copled and вent 1D 1118
omcers, dlrectors, and employees agalnst any thlrd-party         "Legal Oepartmenl."
cfalms, вalons, damages, IOS&Ss, and expenses (lncludlng         14.2      Govemlng Law, Тhе laws oflhe Slale ofT11X81,
court costв and reasonablв allomeys' fвss) ad&ing frorn or       ududlng the ПJles or conllcta af law, wlll govem thls
lncldent to: (а) any dealh, persanal lnjury or damage !о         contrвct.
langlЬle property to the utent such dealh, lnjury or damage
re&ulta IIOlely from yaur negAgence orwlllful mlsconduct         1.U       DJ1pute 1Wsolutfon. When bnnglng an acllon ta
lncluding lhat or your suЬcontract.Dfs; and (Ь) lhe assertlon    enfon:e lhls conlracl, the pa,tJes agreв to the follcwlng
Ьу any landlord orpn,perty manager thвtwe dD nol have the        jшlsdlc:tlonr. (а) lf we brlng lhe actJon, lhв Jurlsd/c1kln wlH Ье
rfght to lnstal or operвte а Klosk at а company owned Slte.      wflere you hвve your headquartenr, and (Ь) lfyou Ьrfng an
                                                                 acllon, the jшfsdlcUon wll Ье Cook County (Chlcago), IDlnols.
1з. Umttations of UaЫIJty                                        14.4 Jury Walver. Each party knowlngly, voluntarlfy and
                                                                 ln!enUonally W21lve1 lhв rfght lt may have to а tlfal Ьу Jury 1n
13.t Umltatlon of U.Ьlllty. NЕ1ТНЕR РАRТУ IS UAВLE               respec:t of any Btlgallon Ьased upon thls conЬact, or erlslng
FOR ANY CONSEQUENТIAI., INCIDENТAL, INDIRECT,                    out of, under or ln connectlon wlth thls contract, or eny
ECONOMIC OR PUNmvE DAМAGES WHATSOEVER                            course ofdeellng, statements, Whelher veltlal orwritten, or
(INCLUDING ВUТ NOT LIMIТED ТО DAМAGES FOR                        вctlon of or Ьу • party or anv cf thelr respec:tlw alliliales to
LOSS OF BUSINESS OR PERSONAL PROFIТS,                            lhe Mest extent permltted Ьу law. Тhls pravlslon 1s а
BUSINESS INfERRUPТION, LOSS OF BUSINESS OR                       maladal lndur.ement for the partlas to enter 1nto thls c:onltacL
PERSONAL OR CONFIDENТIAL INFORМAТION, OR ANV                     14,5 lndependent Cantrac:tol:8. RedЬox acta 81 an
ОТНЕR PECUNIARY LOSS, DAМAGES FOR LOSS OF                        lndependent conltactor, and wlll Ье responslЫe for eny and
PRIVACY, DR FOR FAILURE ТО МЕЕТ ANY DUТY,                        аП soc:181 sacurity, unemployment. worken' c:ompenвallon
INCLUDING ANY DUlY OF GOOD FАП'Н OR ТО                           and other withhokfing taxes ror вl af lts employees. Nolhlng
EXERCISE COMMERCIALLY REASONAВLE CARE OR                         ln lhls conlract wlll Ье deemed to eetabllah а partnershlp,
FOR NEGUGENCE) ARlSING ОUТ OF OR IN ANVWAY                       jolnt venlure, employment, agancy or other legal relatlonsh1p
RELAТED ТО ТНЕ KIOSKS OR THIS CONТRACT, EVEN                     other thвn that of lncfependent conlractors.
IF ТНЕ ОТНЕR РАRТУ НАS BEEN ADVISEO OF ТНЕ
POSSIBILllY OF SUCH DAМAGES. ТНIS LIMIТATION                     14.11      Subcontractlng. We may suЬconlract certaln or
WILL ВЕ EFfEC'ПVE EVEN IF AN'f REMEDY FAILS OF                   our obllgaUons under lhls c:ontract, lncluclng but nol llmlled
IТS ESSENТJAL PURPOSE.                                           to, lnstallallon, mainlenance, supplylng, serviclng, nilocallon
                                                                 or removel ofaur IODska. However, we wlll т.main plimar11y
13.2 ExcJualons to the Umltatlon of UaЫIJty. Тhе                 llaЫe to you for any and в11 such вuЬcontrвcted вarvlces.
llmltallons of llaЫJly ln the preeedlng paragraph wi11 not
apply (о llaЫlltles artslng under the Sectlons govemlng          14.7     Aulgnment. Тh18 coolract cannot Ье as&lgned
RedЬolC К1ст OpвraUng Agn11ment 2.0 С                                                                                       P11g17
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wlthout lhв expnssa wntten coneent ot the other, whlch             agalnsl whom lha amendmenl, change, walveror dllcharge
conиnt wlll not Ьв urnвsonвЫy wlthheld, condlllonlld or            11 sought to Ье enforced.
delayed. НOWever, а party may wlthhold cansent lf an
aulgneв 1s 1n or pfans to Ье 1n competlUon wtlh Chat party.
                                                                   14.11 Тhlnl Party Benefldвrfes. Thare 818 по lhlrd-
Addlllanelly, а party does not need to obtaln lhe conнnt of        party Ьвneficlaries who 818 lntendad to Ьenelit 1n eny way
1hв o\hвr р811у to a181gn thls conlract to а parent. suЬaidlary,   from lh1a c:ontract.
or вllillaled co,poratlon or to а corpoiaUon or entlty, whlch      14.12 Farce МaJeure. Noltherofusw\U Ье Uвbls toeach
acqulres aU or, suЬslantlally а1 of lhe aaets or skx:k of suth     olher for any loa, dsmaga, delay or fallunt of parfonnance
party, parent, subsldlary or allillato.                            lhlt 1s atlllЬutaЫe to ac:t& of God. enned conllcts, war,
14,1       Ent1J8 Ag11111111nt. Thls contract and all exhlbKa      lnsurrectlon, ects of tenottsm or acta cammilled 1n
conlaln lhe enure agreement Ьetwвttn the partles with              furtherance or temmsm, nols, earthquakea, humcanes,
respect to the subJect matlar of 1h18 conlract, and supersede      floods, unusualfy S8\1'ВlВ wealhet, condlllonв or 81/enta о(
any pravlous undenstandlnga or agreements, whelherwria.en          natura thвt cannot Ье predlcted, clvU dlsшrЬances, power or
or aral, ln reapec:t of such suЬject rnatter. HOW&ver, lf thls     communlcetlons fellures, stl1kes, llru, the acts of 1ny
conttact does not lnciude а eecllon gowmlng tha                    govemmanlal authorlty, or other causes Ьeyand а party's
conlldentlaJ nahn of lnformвUon exchanged Ьу lhe partfes,          reasonaЬle conltol. А party'a perfonnanc:e wlll Ье excusad
lhвn the lвnns of any separate conlldentlsllty or
                                                                   durfng the pendency of any IUCh event, but th8t party wtll
nondlsdosure вgrvemвnt slgned Ьу the par11es wlU not Ьв            take all вtspa r11asor,able, practlcal end necessary !О effect
5UP&Пl8dlld Ьу lhl& contract.
                                                                   prompt resumptlon of lts oЫfgatlons undвr lhls contract 1n full
                                                                   or lnpart.
14.1       lnterpmtaUon. lf а court holds eny provlsloc1 of 1h11
agreement !о ье lllegal, lnvalid or unвnfarceable, 1hв r&&t of     14.13 Зurvlval. Provlslon1 n,gartllng payment of
1hв document wlll remafn ln effect and this agrument wlll Ье
                                                                   commlsalons, lmltatlone ofHaЬIHty, contldenllвllty,
amended to glve ell'ect to 1hв 8'1mlnвlsd provlslon to the         lndemnfficatlon, oЫlgallons on lennlnatlon or explrallon and
maxlmum eldent posslЫa. The tвnn "тау" lndk:ate& lhвt              lhe other provl&lone ln thle Secllon entllled "Mlscellaneoua"
somelhlng 1s pennlsslva вnс1 optional 1n а party'& dlscrallon,     stКVive lenпlnaUon or explrallon of lhla contract.
not mandalory or automallc. Тhе language ueed ln thls              14.14 ExecutlCII\. ТЫв contract ls elredlve when lt 1s
contrвct hав Ьевn mulually chosen Ьу the par11os to eicpr&Ss       slgned 1n "реп вnd lnk" Ьу aulhorized reprвsentatlves of
thelr lnteяt, and no nile or sltlct con&tructlon wtll Ьв used      each party. ТЬе contract may Ье executed 1n one or mon,
agalnвt ellher party.                                              countвrpa,ts, each or whlch w\11 conвtltute an orfglnal
14.10 Mod1flcaUon; Welver. No emendmenl, chвnge,                   egreвment. Ьut 1s not enfon:eable unUI de11ve,y end
walverordlschaige oflhls contract le valid unless ltls set         exi:hange of lhe exea.ited counta,perta. Coples of lhls
forth ln wnUng and slgned Ьу an authortzed l'8pl'llsentallwi of    c:ontnкt (lndudlng facslmlles) have the 68m8 rоюа вnс1
lhe perty (whlc:h ln lhe case of RedЬox ls а VJce Pmldent)         etrect 11 а 1lgned orlglnal doaвnenL

7-ELEVEN, INC,                                                     REDВOX АUТОМАТЕD REТAIL. LLC




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1. Beclricity Connectlon
          а.   fnterlor Kiosk
                             1. Pcwer- 120v. 20 amp dedlcated electrlc lln•
                            2. The fight Ьох and lhe header lhat sils оп Сор of lhe machlne have а tolal elecflic load
                               of 1.2 amps. The machine has а tolal electrfc load or 4.9 вmps for а total connec!ed
                               load of 6.1 amps.
          Ь.   Exterlor Klnsk
                           1. Power. 20 Amp dtdlcaCed cfrcuit
                           2. The Ught Ьох and the header that slls on 1ор of the machlne have а fotal electric load
                               of 2.1 amps. Тhе mвchlne hвs а lolal electric load of 8.5 amps for а total connected
                               load of 10.6 amps, _ __




RedЬoxl<losk Op11111\ifl9 Agrнmlfll 2.00                                                                        Page2
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                                                     ЕХНIВIТВ

                                                     SIТELIST

 Storel      Banner              Address                            aiv                 State   Zlpcade
 10009       7-Efeven, lnc.      30 N Summerlrn Ave                 Orlando             FL      32801-2930
 10017       7•Eleven, lnc.      3608 Aloma Ave                     WlnterPark          FL      ЗZ792-4004
 10022       7-Eleven, lnc.      2609 Delanev Ave                   ortando             FL       32BD6-4S27
 10060       7-Eleven, lnc.     401 W State Road 436                Altamonte Sprlngs   FL       32714-4135
 10114       7•Eleven, lnc.     1500 Ganfen St                      Тltusvllle          FL       32796-3315
 10249       7•Eleven, lnc.     6205 Gulf Blvd                      St Pete 8each       FL       33706-3715
 10253      7•Eleven, lnc.      403 Clearwater Largo Rd N           Larso               FL       33770-234S
 10349      7-Eleven, lnc.      10815 N Nebraska Ave                Tampa               FL       33612·6816
 10386      7-Eleven, lnc.      1976 43nf Ave                       Vero Beach          FL       32960-0S19
 10389      7-Eleven, lnc.      3110 Oleander Ave                   Fort Plerce         FL       34982-6424
 10641      7-Eleven, lnc.      10601 Lomond Dr                     Manassas            VA      20109-2808
 10643      7-Eleven, lnc.      10008 Maln St                       Falrfax             VA      22031-3404
 10653      7-Eleven, lnc.      701 Van Buren St                    Hemdon              Vд      20170-46S6
 10654      7-Eleven, lnc.      7420 Old Centreville Rd             Manassas            VA      20111·1642
 10657      7-EJeven, lnc.      11UEldenSt                          Hemdon              VA      20170-5502
 10663      7-Eleven, lnc.      868 Е Washlngton St                 Charles Town        wv      2S414-1086
 10677      7-Eleven, Jnc.      3019 Annandale Rd                   Falls Church        VA      22042-3003
 10678      7-Eleven, lnc.      7222 Arllnston Blvd                 falls Church        Vд      22042-1829
 10689      7-Eleven, lnc.      3338 Gallows Rd                     Annandale           VA      22003-1201
 10691      7-Eleven, lnc.      7451 Patterson Rd                   Falls Churth        Vд      21043-1332
 10693      7-Eleven, lпс.      BбlбParkSt                      Vfenna                  VA      22180-6842
 10697      7-Eleven, lnc.     2242 Gallows Rd                  DunnLDring              VA      22027-1136
 10698      7-Eleven, lnc.     4131 Hummer Rd                   Annandale               VA      22003•2416
 10701      7-Eleven, lnc.     7822 Rectory Ln                  Annandale               VA      22003-4935
 10717      7-Eleveп, lnc.     1131 S George Mason Dr           Arllngton               VA      22204-38D1
 10721      7•Eleven, lnc.     3337 Glen Carlyn Dr              Fafls Church            VA      22041-3314
 10722      7-Eleven, rnc.     3011 Patrick Henry Dr
                                                                - . - -
                                                                Falls Church            Vд
                                                                                                    -- · - --
                                                                                                22044-2521
 1073S      7-Eleven, lnc.     3420 Carlln Sprlngs Rd           Falls Churth            VA      22041-2803
 10741      7•Eleven, lnc.     2704 Washlngton Blvd             Arlington               VA      22201-1939
 10751      7-Eleven, lnc.     3100 Lockheed Blvd               Alexandrla              VA      22306-2001
 10753      7-Eleven, lnc.     2901 Arllngton Dr                Alexandrla              VA      2Z306-2325
 10756      7-Eleven, lnc.     14820 Cloverdale Rd              Daleaty                 VA      22193-1760
 10761      7-Eleven, lnc.     8434 FryeRd                      Alexandrla              VA      22309-8426
 10763      7-Eleven, lnc.     6147 Franconla Rd                Alexandrta              Vд      22310-2508
 10767      7-Eleven, lnc.     133D4 Occoquan Rd                Woodbrldge              VA      22191·1008
 10768      7-Eleven, lnc.     2405 Falrhaven Ave               AlexandrJa              VA      2ZЗОЗ-2301
 10772      7-Eleven, lnc.     6946 Sкtngs Hwy                  Alexandria              VA      2Z310-3331
 10773      7-Eleven, lnc.     2800 Beacon HIII Rd              Ale,candrfa             Vд      22306-1614
RldЬox IOosk Operallng Agreement 2.0 О                                                                       Pag111
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                                                ExhlЫtC

                                         lnstatlatJon GuJdeltnes
Unit Placemвnt Guldellnвs
1. Тhв Redbox Is placed at the storefront agafnst the waU. However, !he unlt shall not block
   the вtorefmnt wlndow. See below:




2. The electricity outlet should not Ье mounted on the mulllon. . Shown below Is а totaПy
     unacceptaЬle lnвtallatlon.




з. RedЬox must Ье 1о• away from propane per flre code.

_4._ ~_n_du_
           it_sho
               __uld_b~_th    h _th_e_V{aU aJ.16_" 1'E.F B!Jd_c;>_
                         _roug_                                  ncea_lec!_!9_c_ustomв...:...
                                                                                        r _ _ _ __
5. For exlstlng stores, electrlclan must perform CJrcult Breaker Load Dlstrlbutlon Вalance.
6. Use Clrcuit breaker Panel ·s· as primary power source
7. Dlsconnect unlt slze should not exceed (6 ½" h Х 4"w Х З ½• d) - Square -D MD #
    OO200TR GОЗ Series 20 Amp or equal -wап mounted unlt

Gвnвral Rвquiremвnts to Complv with ADA Requlrвmвnts for RedЬox

1. ADA accesslЫlfty оп sidewalk - Must have 60" tumaround space ln front of the Redbox
     klosk or to the left or right for ADA requlrements.

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2. Mlnlmum sldewalk depth for Redbox ls 6'.(7' ln СА and Denver)
3. Sldewalks (wlth curЬs) between 61 and 8' requlre а protectlve baпler (curЬ stops or
     Ьotlards) to keep cars from overhangtng the sldewalk and obstructlпg the path ln fiont of
     the Redbox ff there 1s head on parklng ln front of the sldewalk. Sldewalks greater than 8'
     do not rвqulre protectJve barriers.
       а.     lf curЬstops are used wlth а е• вldewalk, they need to Ье placed at least 2' Ьасk of the
              curЬ.

       Ь.     lf curЬstops are used wlth а 7' sldewalk, they need to Ье placed at reast 1' back of the
              curЬ.

       с.     ff bollards are used, they should Ье placed just past the curЬ ln the parklng Jot, not on
              the sldewalk.

4. Wlth stores that have по сuгЬs, bollards (4" dla. Loop) are requlred and must Ье at least 8'
     from the store wall wlth зе• spaclng between them. Тhе spaclng accommodates the ADA
     rule, whlle the bollard placement protects the customer renUng at the Redbox. Use the
    anchorfng detaifs shown below.


                                                                PAINТ Vl!NT PIPes "EJCТRA wнrта-
                                                         .,,.   SW7-.




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5. Helght clearance of the exterior RedЬox 1s ев• -or 8'. Length of the Redbox 1s 6'. Need 7'
    of space to accommodate the ouUet and dlsconnect Ьох teft or right of the RedЬox.
6. Maximum allowed sldewalk slope fs 1 ½" over 6' for several reasons...
       а.     ADA requlrements
Fledlloll l<ioSk 0pen1бng Agreement 2.00                                                           Page2
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       Ь. Allows the RedЬox to Ье property secured to the sldewalk

7. Exterior klosks are bolted to the sldewalks. Sldewalk matsrial musl Ье concrete ln order to
     properfy secure the Redbox kiosks.
8. Redbox ls not responslЫe for lnstalla11on or the costs assoclated with the lnstaflatfon of: (а)
     bollards: (Ь) curЬ stops: ог (с) any fonn of protectlve Ьarriers as descrtbed fn paragraphs з
    and4 above.

Any exc1ptlons should ь, approved vfa th• "Exceptlon Reaunt" proc,u. IЬ• Exceptlon Requests ere
suьmwtd toв,n,Ralaыoz-11,com,

Kloska lo•JJlled prlor to tht Eff,ctlv• Qat• of JЫ• contract ar, not reaulnd tp m11t fbo loJtaflatfon
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condltlons of 1h• contract, the tenns and condltlons of th• contract wш control-




RedЬox КIQsk OperalingAgrнment 2.0 С)                                                                    РаgеЗ
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                                                                                           redЬax.
                                               EXHIBIT А


                                   KIOSK OPERATING AGREEMENT
                                            Summary Page

CJient:                7-Eleven, lnc.
Primary Client         Магk Hagen; mark.hagen@7-11.com; 972-828-7747
Contact:
Form of               А corporation organized under the laws of the state of Texas
Organization:
Client Addresses:      Principal Address                        For Notices:
                      7-Eleven, lnc.                            Same
                      1722 Routh Street
                      Suite 1000
                      Dallas, Texas 75204

Effective Date:        January 1, 2019
Term:                 3 years beginning оп January 1, 2019 and expiring оп December 31, 2021.
                      Thereafter, this contract will renew fог up to two (2) additional опе (1) уеаг periods
                      unless either party gives notice of non-renewal.


Placements:           [8] lndoor                                [8] Outdoor
Commission:           1О. 75% рег Kiosk for DVD rental; 8.5% рег Kiosk fог video game rental; 3% рег
                      Kiosk for Sell Through and Previously viewed Sell Through. Commission payment
                      is calculated in accordance with Section 7.
Products:             18] Movie Rental
                      [8] Movie Sell Through
                      18] Movie Previously-Viewed Sell Through
                      18] Video Game Rental
                      [8] Video Game Sell Through
                      18] Video Game Previously-Viewed Sell Through


lssuance of           Monthly, Net 30
Commission
Payments:
Cancellation of        This contract, оп and after its Effective Date, supersedes and cancels the prior
Prior Contracts:       contracts (except with respect to апу outstanding payment oЬ!igations) identified as
                       follows:

                       N/A.



                                                    3
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                                                                                               redЬax.
                                         FIRST AMENDMENT ТО
                                     KIOSK OPERATING AGREEMENT

       This First Amendment to Kiosk Operating Agreement ("First Amendmenf') is between 7-Eleven, lnc.,
а Texas corporation ("Client") and Redbox Automated   Retail, LLC, а Delaware limited liabllity company
("Redbox") (collectively, the "Parties").

       Client and Redbox entered into а Kiosk Operating Agreement effective January 1, 2015 (the
"Operating Agreemenf') granting Redbox the right to install and operate automated media rental and sales
machines, and to rent media at Client Sites.

       Client and Redbox now desire to amend the Operating Agreement оп the terrns and conditions below.

     THEREFORE, Client and Redbox agree that effective January 1, 2019 the Operating Agreement is
amended as follows:

1.     Beginning оп the Summary Page and throughout the contract, all references to "DVD" аге deleted and
replaced Ьу the word "movie".

2.     The definition of "Media" is deleted in its entirety and redefined as follows:

       "Media" means movies and video games.

З.     Commission Payments, as set forth in Section 7.4, will Ье paid within thirty (30) days of the end of
each calendar month.

4.     Section 7.6 Taxes, is deleted in its entirety and restated as follows:

       7.6     Taxes

       (а)     Redbox shall ensure compliance with all federal , state and local tax laws applicaЫe to the
Кiosks, Media and services including but not limited to registering to рау, collecting and remitting taxes
imposed upon Redbox in performance of its oЬligations under this contract. Each party shall Ье solely
responsiЫe for any taxes owed оп its income, gross receipts, property or net worth, including income
generated under this contract. Redbox will have по liabllity to separately reimburse Client for any income,
gross receipts, business and occupation, ог similar tax imposed оп Client's business, income, or receipts for
any amount paid to Client Ьу Redbox as а result of this contract ог any Kiosk transactions.

      (Ь)        ln the event that the tax authorities subsequently seek to assess taxes against Client that Client
reasonaЫy      believes аге Redbox's oЬligation. then Client. rather than remit such taxes and seek
reimbursement from Redbox, shall immediately provide written notice to Redbox, and Redbox and Client shall
reasonaЫy cooperate with each other to investigate and accurately determine the appropriate tax liabllity, if
any, and work together to minimize such tax liabllity, to the extent legally permissiЫe. Notwithstanding the
indemnification provision set forth below, if the Parties, exercising good faith, deterrnine that the assessed
taxes, ог some portion thereof, is properly due and рауаЫе Ьу Redbox, Redbox shall рау such taxes, and in
such а case, Redbox shall bear all interest, levies and penalties, assessed Ьу such tax authorities as required
Ьу applicaЬle Law, unless the failure to collect and remit taxes is attributaЫe to а Client misrepresentation ог
failure to disclose а material fact that affects the imposition of taxes due.
         (с)     The Parties shall provide prompt notice to опе another of апу audit Ьу tax authorities with
respect to Taxes, and shall геаsопаЫу cooperate to identify and defend positions that may arise under such an
audit.
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                                                                                            rеdЬсж.
5.      Upon expiration of the second Renewal Term, the Operating Agreement shall automatically renew for а
three (3) уеаг period expiring оп December 31, 2021 (the "Third Renewal Term"). Thereafter, the Operating
Agreement renews for up to two (2) additional one (1) year periods (the "Fourth and Fifth Renewal Term"),
unless one of us gives the other written notice that the contract will ехрiге at the end of the Third ог Fourth
Renewal Term. This notice must Ье given and received at least ninety (90) days and not more than опе
hundred eighty (180) days prior to the end of the Third ог Fourth Renewal Term. During the Fourth or Fifth
Renewal Term, either party may terminate the Operating Agreement without cause upon one hundred twenty
(120) days' notice.

6.       Section 8.5, Promotional Codes, is deleted in its entirety.

7.     Upon execution of this First Amendment, the Summary Page is modified as shown in Exhiblt А
attached hereto and incorporated herein.

Except for the provisions set forth above, all other terms and conditions contained within the Operating
Agreement remain unchanged.

THIS FIRST AMENDMENT, INCLUDING ТНЕ OPERATING AGREEMENT OF WHICH IT IS А PART, IS А
COMPLETE AND EXCLUSIVE STATEMENT OF ТНЕ AGREEMENT
BEТWEEN ТНЕ PARTIES, WHICH SUPERSEDES ALL PRIOR OR CONCURRENT PROPOSALS AND
UNDERSTANDINGS, WHETHER ORAL OR WRIТТEN, AND ALL OTHER COMMUNICATIONS BEТWEEN
ТНЕ PARTIES, RELATING ТО ТНЕ SUBJECT МАТТЕR OF THIS FIRST AMENDMENT AND ТНЕ
OPERATING AGREEMENT.

Notwithstanding anything to the contrary in the Operating Agreement, in the event of а conflict between the
terms and conditions of this First Amendment and those contained within the Operating Agreement, the terms
and conditions of this First Amendment shall prevail. ALL OTHER TERMS AND CONDITIONS REMAIN
UNCHANGED AND ARE RATIFIED HEREBY.

IN WITNESS WHEREOF, Client and Redbox, Ьу their execution below, indicate their consent to the terms of
this First Amendment.


                                               REDBOX AUTOMATED RETAIL, LLC


                                               Ву:   _ _ _ _ _ _ _ _ _ _ __
                                               Name: _ _ _ _ _ _ _ _ _ _ __

                                               Title: _ _ _ _ _ _ _ _ _ _ _ __

                                                Date: _ _ _ _ _ _ _ _ _ _ __




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